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UN|TED STATES GOVERNMENT
Federal Bureau of Prisons

05 JUN 22 PH a vt F°?§J?'L"ZZZ§ZZ£,?§';§°J

Lex:‘ngton, Kentucky 40511-8799

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ROBERT Ft. Di THOI.IO
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W.D. OF TN, MEMPHIS
June 7, 2005

The Honorable J on P. McCalla

United States District Judge

Western District of Tennessee, Western Division
Clifford Davis Federal Building

167 N. Main Street

Mernphis, TN 38103

 

Re: POOLE, Robert Eugene
Case No. 05-20098-Ml
Reg. No. 20206-076

Dear Judge McCalla:

Your court order, dated May 4, 2005, committed Robert Eugene Poole to a mental health
evaluation pursuant to Title 18, United States Code, Sections 4241 and 4242, to determine his
competence to stand trial and his mental state at the time of the alleged offense Mr. Poole
arrived at the Federal Medical Center (FMC) Lexington, Kentucky on May 26, 2005. Due to the
large number of evaluations received at this facility and in order to allow our clinical staff
sufficient time to conduct a thorough examination, we are respectfully requesting an extension
which would allow us 60 days from the date of the defendant’s arrival at FMC Lexington to
complete the evaluation Under such a time name, the evaluation would be completed by

July 25, 2005, and a report would be available to the Court by August 15, 2005.

If you concur with our request, please fax us a new order at (859) 253-8845. We sincerely

appreciate your consideration in this matterl
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Sincerely, _ 0
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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20098 was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

